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       7.      Any small (less than $300) allowances agreed to be made
               to Buyer to settle any unforeseen dispute arising at
               settlement                                                              $____

       8.       Other                                                                  $____

               TOTAL                                                                   $__:148,550

        After paying all liens in full and all costs ofsale, the title clerk shall pay to William C.
Miller, Chapter 13 standing trustee a 100% distribution on all remaining filed and allowed
Claims, in the amount of$8,233.00. The Debtor shall receive his real estate exemption in the
sum of$23,675.00 at the real estate closing plus the remaining proceeds after all liens, cost of
sale and remaining filed and allowed claims are paid a 100% distribution.

         The title clerk shall fax a completed HUD- I or settlement sheet from the closing directly
to the trustee immediately upon the close of the settlement, and the trustee shall promptly notify
the title company of his approval or objections to the sums to be disbursed.

        Upon trustee approval, the title clerk shall fax a copy ofthe disbursement check to the
trustee, and shall immediately transmit the actual disbursement check to the trustee by overnight
courier.

         Debtor shall not be permitted to voluntarily dismiss this case; he may, however, convert
this case to one under Chapter 7. In the event the case is converted to Chapter 7, any funds
remaining in the possession ofthe standing trustee shall be transferred to the appointed Chapter 7
trustee.

     Per Bankruptcy Rule 6004(h), the 14 day stay as to effect of this Order is hereby waived.




                                              ______________________________________
                                               ERIC L. FRANK
                                               U.S. BANKRUPTCY JUDGE
